      Case: 1:24-cv-01351 Document #: 8 Filed: 03/14/24 Page 1 of 9 PageID #:18




                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS

 MICHAEL WILLIAMS,                                     )
                                                       )
                 Plaintiff,                            )
 v.                                                    )      Case No. 1:24-CV-1351
                                                       )
 RESURGENT CAPITAL SERVICES, L.P.                      )      Judge Kennelly
                                                       )
                 Defendant.                            )

                              DEFENDANT’S MOTION TO DISMISS

        Defendant Resurgent Capital Services, L.P. (“Defendant”), by and through its undersigned

attorneys, hereby moves to dismiss Plaintiff’s Complaint pursuant to Federal Rule of Civil

Procedure 12(b)(6), and in support of which state as follows:

                                         INTRODUCTION

        The case at bar is an action for an alleged violation of the Fair Debt Collection Practices

Act (“FDCPA”) arising from a letter sent by Plaintiff to Defendant requesting that Defendant not

contact him via letter but only via email. (ECF No. 1 at ¶15.) Plaintiff claims that Defendant

violated 15 U.S.C. § 1692c(a)(1) by communicating with the Plaintiff at an inconvenient place via

mail. (Id. at ¶17.) Based on these allegations, Plaintiff asserts two counts: (1) violation of 15 U.S.C.

§ 1692c(a)(1) and (2) invasion of privacy/intrusion upon seclusion. (ECF No. 1.) Plaintiff’s claims,

however, suffer from fatal flaws which necessitate their dismissal.

                                    STATEMENT OF FACTS

On or about January 2, 2024, Plaintiff sent a letter to Defendant which states:

                I receive a correspondence from you and wass shocked to see that
                the balance of $1,072.00 for account XXXXXXXXXXX5058 & a
                balance of $1,373.83 for account XXXXXXXXXXXX1271 is
                inflated. I respectfully decline to pay the debt. I has never done
                business with you. Please send all that you have, letters to my


                                                   1
      Case: 1:24-cv-01351 Document #: 8 Filed: 03/14/24 Page 2 of 9 PageID #:19




               address are troublesome for me and I prefer to keep my personal
               matters private, so only send anything you have to my email address.
(Exhibit 1, Pl.’s Jan. 2, 2024 Letter (sic) typos in exhibit.) Because the letter contained a dispute

about the amount owed, Defendant sent a response on January 19, 2024 via letter to Plaintiff in

the mail which included an account summary. (Exhibit 2, Def.’s Jan. 19, 2024 Letter.)

                             MOTION TO DISMISS STANDARD

       To survive a motion to dismiss, a complaint must state a claim to relief that is plausible on

its face. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570, 127 S. Ct. 1955, 167 L. Ed. 2d 929 (2007);

Adams v. City of Indianapolis, 742 F.3d 720, 728 (7th Cir. 2014). The plaintiff must plead

sufficient factual content from which the Court can “draw the reasonable inference that the

defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S. Ct.

1937, 173 L. Ed. 2d 868 (2009). The Court must construe all allegations in the light most favorable

to the plaintiff, accept all well-pleaded facts set forth in the complaint as true, and draw all

inferences in favor of the non-moving party. Fednav Int'l Ltd. v. Continental Ins. Co., 624 F.3d

834, 837 (7th Cir. 2010). Allegations in the form of legal conclusions, as well as threadbare recitals

of the elements of a cause of action, supported by conclusory statements, do not suffice. Adams,

742 F.3d at 728. Pursuant to Rule 12(b)(6), dismissal is proper where “the plaintiff can prove no

set of facts that would entitle him to relief.” Marshall Mosby v. Corporate Receivables, Inc., 205

F.3d 323, 326 (7th Cir. 2000). A Rule 12(b)(6) motion to dismiss tests the legal sufficiency of the

complaint, rather than the factual sufficiency. See Szabo v. Bridgeport Machines, Inc., 249 F.3d

672, 675 (7th Cir. 2001).

       In deciding a Rule 12(b)(6) motion to dismiss, the Court can consider any documents

incorporated or referenced in the complaint. See Continental Cas. Co. v. American Nat. Ins. Co.,

417 F.3d 727, 731 (7th Cir. 2005) (“Documents that a defendant attaches to a motion to dismiss


                                                  2
         Case: 1:24-cv-01351 Document #: 8 Filed: 03/14/24 Page 3 of 9 PageID #:20




are considered part of the pleadings if they are referred to in the plaintiff's complaint and are central

to the claim.”); Knafel v. Chicago Sun-Times, Inc., 413 F.3d 637, 640 (7th Cir. 2005) (same).

Exhibits to a motion to dismiss that are referred to in the complaint and are central to a plaintiff's

claims are to be considered on a motion to dismiss just as if the plaintiff had attached them as

exhibits to her complaint. Wright v. Associated Ins. Cos. Inc., 29 F.3d 1244, 1248 (7th Cir. 1994).

When allegations in a complaint conflict with exhibits attached to a motion to dismiss that are

considered, the exhibits control when they reveal facts that foreclose recovery as a matter of law.

Whirlpool Fin. Corp. v. GN Holdings, Inc., 873 F. Supp. 111, 123 (N.D. Ill. 1995), aff'd, 67 F.3d

605 (7th Cir. 1995).

          Pursuant to Fed. R. Civ. P. 12(b)(6), Defendant moves for dismissal of the Complaint on

the ground that, as a matter of law, Williams cannot bring the alleged FDCPA claims based on the

mailing of a letter to him.

                                            ARGUMENT

    I.       THE FDCPA DOES NOT SUPPORT PLAINTIFF’S CLAIM WHICH IS BASED
             ON THE ACT OF MAILING A REQUIRED NOTICE TO PLAINTIFF

          Congress enacted the FDCPA with the goal of eliminating abusive debt collection

practices. Jerman v. Carlisle, McNellie, Rini, Kramer & Ulrich LPA, 559 U.S. 573, 577, 130 S.

Ct. 1605, 176 L. Ed. 2d 519 (2010) (citing 15 U.S.C. § 1692(e)). To achieve this goal, the Act sets

forth various standards regulating interactions between consumer debtors and debt collectors,

which are enforced through administrative action and private lawsuits. Id.

          15 U.S.C. § 1692c(a)(1) provides that a debt collector cannot communicate with a

consumer “in connection with the collection of any debt” “at any unusual time or place or a time

or place known or which should be known to be inconvenient to the consumer.” 15 U.S.C. §

1692c(a)(1). Neither requirement is satisfied here.

                                                   3
      Case: 1:24-cv-01351 Document #: 8 Filed: 03/14/24 Page 4 of 9 PageID #:21




       First, there are no allegations in the complaint that Defendant either communicated with

Plaintiff at 1) any unusual time or place or 2) a time or place known to be inconvenient to the

consumer; thus, dismissal of his claim under 15 U.S.C. § 1692c(a)(1) is warranted. LaCourte v.

JP Morgan Chase & Co., No. 12 CIV. 9453 JSR, 2013 U.S. Dist. LEXIS 129993 (S.D.N.Y. Sep.

4, 2013). The letter from Plaintiff to Defendant, Ex 1, does not contain any information that would

put Defendant on notice of an unusual time, or an unusual place – the first two parts of the statutory

restriction under 1692c(a)(1) (“at any unusual time or place”). Nor does the letter provide notice

of a time or place “which should be known to be inconvenient to the consumer,” the third part of

the restriction, given that the letter identifies no actual time and no actual place as “inconvenient.”

       What the Plaintiff’s letter does say, is that a specific “medium” of communication is more

convenient than other “mediums” of communication. Cf. Olu Omodunbi v. Gordin & Berger, P.C.,

Civil Action No. 17-7553 (ES) (JSA), 2021 U.S. Dist. LEXIS 219323 *17 (D.N.J. Nov. 12,

2021)(emails are a medium of “communication” under 15 U.S.C. § 1692a(2)); CFPB, Debt

Collection Practices (Regulation F), Supplement 1 to Part 1006, Official Interpretation 2(d), 85

FR 76734-01, *76895(the Consumer Financial Protection Bureau’s Regulation F interpreted the

term “any medium” in 15 U.S.C. § 1692a(2) to include “any oral, written, electronic, or other

medium. For example, a communication may occur in person or by telephone, audio recording,

paper document, mail, email, text message, social media, or other electronic media.”); id. at*

76896-768967, Official Interpretation 6(b)(1)(providing examples of designations of

inconvenience - designating Tuesdays and Thursdays as bad, “I cannot talk now,” etc.).

       But even if the Plaintiff’s letter was construed as an expression of an inconvenient time or

place, the Official Commentary provides that a single follow up communication in the same

medium of the consumer’s communication is permitted:



                                                  4
      Case: 1:24-cv-01351 Document #: 8 Filed: 03/14/24 Page 5 of 9 PageID #:22




               If a consumer initiates a communication with a debt collector at a
               time or from a place that the consumer previously designated as
               inconvenient, the debt collector may respond once at that time or
               place through the same medium of communication used by the
               consumer.
Id. at* 76896-768967,76762-76763, Official Interpretation 6(b)(1). Indeed, in this case, nothing

more occurred than the sending of a follow up message in the same medium that the Plaintiff used

to send his message to Defendant, i.e, the US Mail.

       Second, 15 U.S.C. § 1692g(b), governing disputed debts, expressly requires mailing a

response to a consumer’s dispute, before collection activity can proceed:

               (b) Disputed Debts
               If the consumer notifies the debt collector in writing within the
               thirty-day period described in subsection (a) that the debt, or any
               portion thereof, is disputed, or that the consumer requests the name
               and address of the original creditor, the debt collector shall cease
               collection of the debt, or any disputed portion thereof, until the debt
               collector obtains verification of the debt or a copy of a judgment, or
               the name and address of the original creditor, and a copy of such
               verification or judgment, or name and address of the original
               creditor, is mailed to the consumer by the debt collector….
15 U.S.C. § 1692g(b) (emphasis added). The Defendant’s January 19 letter was mailed in

compliance with § 1692g(b). 15 U.S.C. § 1692c(a)(1) cannot be construed in a manner that

prevents a party from satisfying the express statutory requirement for mailing verification of the

debt under § 1692g(b), which allows a debt collector to resume collection. Marino v. Hoganwillig,

PLLC, 910 F.Supp.2d 492, 496 (W.D. N.Y. 2012); Clark v. Cap. Credit & Collection Servs., Inc.,

460 F.3d 1162, 1172 (9th Cir. 2006).

       Third, while the complaint alleges that the Defendant’s January 19th letter was an attempt

to collect a debt, (ECF No. 1 at ¶¶13, 16.), the January 19th letter was actually sent in response to

Plaintiff’s January 2 letter disputing the debt; and more importantly the January 19th letter does

not contain any demand for payment. (See Ex 2.) An express demand for payment, while not


                                                 5
      Case: 1:24-cv-01351 Document #: 8 Filed: 03/14/24 Page 6 of 9 PageID #:23




categorically required to qualify a letter as a communication in connection with the collection of a

debt, if lacking, is a telling indicator that the “animating purpose” of the communication was not

to solicit payment of the debt. Gburek v. Litton Loan Servicing LP, 614 F.3d 380, 384–85 (7th

Cir.2010); Billups v. Retail Merchants Ass'n, Inc., 620 F. App'x 211, 214 (5th Cir. 2015); McIvor

v. Credit Control Servs., Inc., 773 F.3d 909, 915 (8th Cir. 2014); Grden v. Leikin Ingber & Winters

PC, 643 F.3d 169, 173 (6th Cir. 2011); Flinn v. Michael J. Scott, P.C., Civil Action No. 3:14-CV-

0701-N, 2014 U.S. Dist. LEXIS 186778 (N.D. Tex. Dec. 2, 2014)(following Gburek). Compare

with Schultz v. Sw. Credit Sys., LP, No. 16-CV-2033-LRR, 2017 U.S. Dist. LEXIS 225161 (N.D.

Iowa Oct. 13, 2017)(verification of debt also stating, “Please remit the balance in full to our office

upon receipt of this letter,” construed as a demand for payment).

       Here the statutorily required verification provided to Plaintiff did not include a demand for

payment and cannot be construed as being “in connection with the collection of any debt.”

       Fourth, as noted above, Plaintiff’s claim relates to the “medium” of communication (e.g.,

e-mail vs U.S. Mail) not its time or place. When regulating the mediums available to communicate

with a consumer – including by phone, text and email – the CFPB put restrictions on the medium

of communication under 12 C.F.R. § 1006.14, which governs harassing, oppressive or abusive

conduct, under the authority of 15 U.S.C. § 1692d. Under 12 CFR § 1006.14(h), a consumer can

restrict the medium of communication used by a debt collector – e.g., no calls, no emails, no texts

- but that restriction is subject to an exception for required communications. The regulation says –

               (h)(1) In general. In connection with the collection of any debt, a
               debt collector must not communicate or attempt to communicate
               with a person through a medium of communication if the person has
               requested that the debt collector not use that medium to
               communicate with the person.
               (2) Exceptions. Notwithstanding the prohibition in paragraph (h)(1)
               of this section:


                                                  6
         Case: 1:24-cv-01351 Document #: 8 Filed: 03/14/24 Page 7 of 9 PageID #:24




                   ***
                   (ii) If a person initiates contact with a debt collector using a medium
                   of communication that the person previously requested the debt
                   collector not use, the debt collector may respond once through the
                   same medium of communication used by the person; or
                   (iii) If otherwise required by applicable law, a debt collector may
                   communicate or attempt to communicate with a person in
                   connection with the collection of any debt through a medium of
                   communication that the person has requested the debt collector not
                   use to communicate with the person.
Both exceptions apply in this case. Plaintiff mailed his dispute letter dated January 2 via US Mail,

to which Defendant responded once by US Mail on January 19 (coming within the (h)(2)(ii)

exception) and the statute – 15 U.S.C. § 1692g(b) – requires mailing of verification (coming within

the (h)(2)(iii) exception). The official commentary provides the following example:

                   14(h)(2) Exceptions.
                   1. Legally required communication media. Under §
                   1006.14(h)(2)(iii), if otherwise required by applicable law, a debt
                   collector may communicate or attempt to communicate with a
                   person in connection with the collection of any debt through a
                   medium of communication that the person has requested the debt
                   collector not use to communicate with the person. For example,
                   assume that a debt collector who is also a mortgage servicer subject
                   to the periodic statement requirement for residential mortgage loans
                   under Regulation Z, 12 CFR 1026.41, is engaging in debt collection
                   communications with a person about the person’s residential
                   mortgage loan. The person tells the debt collector to stop mailing
                   letters to the person, and the person has not consented to receive
                   statements electronically in accordance with 12 CFR 1026.41(c).
                   Although the person has requested that the debt collector not use
                   mail to communicate with the person, § 1006.14(h)(2)(iii) permits
                   the debt collector to mail the person periodic statements, because the
                   periodic statements are required by applicable law.1
In this case, the statute governing disputes, 15 U.S.C. § 1692g(b), expressly states that:

                   If the consumer notifies the debt collector in writing within the
                   thirty-day period described in subsection (a) that the debt, or any
                   portion thereof, is disputed, or that the consumer requests the name
                   and address of the original creditor, the debt collector shall cease

1
    https://www.consumerfinance.gov/rules‐policy/regulations/1006/14/#h‐1

                                                       7
      Case: 1:24-cv-01351 Document #: 8 Filed: 03/14/24 Page 8 of 9 PageID #:25




               collection of the debt, or any disputed portion thereof, until the debt
               collector obtains verification of the debt or a copy of a judgment, or
               the name and address of the original creditor, and a copy of such
               verification or judgment, or name and address of the original
               creditor, is mailed to the consumer by the debt collector.
15 U.S.C.A. § 1692g(b) (emphasis added). Even if construed liberally as a pro se pleading, there

is simply no plausible claim for relief pled in the complaint based on the facts alleged.

                                          CONCLUSION

       For all the foregoing reasons, Defendant Resurgent Capital Services, L.P. respectfully

requests that the Court dismiss this action for failure to state a claim, and for such other and further

relief that the Court deems just and proper under the circumstances.



        Dated March 14, 2024.

                                                  Respectfully submitted,
                                                  Attorneys for Defendant
                                                  Resurgent Capital Services LP

                                                  /s/ Nabil G. Foster
                                                  Nabil G. Foster
                                                  Alyssa A. Johnson
                                                  BARRON & NEWBURGER, P.C.
                                                  53 W. Jackson Blvd., # 1205
                                                  Chicago, IL 60604
                                                  Telephone: 312-767-5750
                                                  Facsimile: 312-229-9203
                                                  nfoster@bn-lawyers.com
                                                  ajohnson@bn-lawyers.com




                                                   8
       Case: 1:24-cv-01351 Document #: 8 Filed: 03/14/24 Page 9 of 9 PageID #:26




                              CERTIFICATE OF SERVICE

       I, Nabil G. Foster, an attorney, certify that I shall cause to be served a copy of the
DEFENDANT’S MOTION TO DISMISS upon the following individual(s), by deposit in an
U.S. mailbox, postage prepaid, messenger delivery, Federal Express, facsimile transmitted from
(312) 229-9203, or electronically via email or the Case Management/Electronic Case Filing
System (“ECF”) as indicated, on March 14, 2024 to the following individuals:

  X      CM/ECF                           Plaintiff Pro-Se
 ___     Facsimile
 ___     Federal Express                  Michael A. Williams
 X       E-Mail                           1130 S Canal #1240
 X       U.S. Mail                        Chicago, IL 60607
 ___     Messenger                        Telephone: (312) 841-9560
                                          Email: mikewill217@yahoo.com




 Nabil G. Foster                           /s/ Nabil G. Foster
 Alyssa A. Johnson                        Nabil G. Foster
 BARRON & NEWBURGER, P.C.                 One of the Attorneys for Defendant
 53 W. Jackson Blvd., # 1205
 Chicago, IL 60604
 Telephone: 312-767-5750
 Facsimile: 312-229-9203
 nfoster@bn-lawyers.com
 ajohnson@bn-lawyers.com




                                              9
